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                        IN THE UNITED STATES DISTRICT COURT                      J.UN 2 2 202!
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


MONISHA DALCOE,

          Plaintiff,

v.

NEW PRIME, INC.,                                       CIVIL ACTION NO.

                                                       1:19-cv-549-AT
          Defendants.

                                        VERDICT



                                     SELECT ONE:

     1.   We, the jury, find that Defendant is liable to Plaintiff for damages (with no

          fault on the part of the Plaintiffi in the amount of $ _ _ __

                                          -OR-

     2.   We, the jury, find that Defendant is liable to Plaintiff and that any negligence

          on the part of the Plaintiff is less than 50%, and we apportion liability in the

          following amounts:

     Liability of Defendant:

     Liability of Plaintiff:

                                         -AND-
          We, the jury, find total, unreduced damages in the amount of$ I t·1 {J 'Jfi?     S.t 1-J.f
                               (continued on next page)
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                                        -OR-

   3. We, the jury, find for the Defendant as:

      - - - - - Defendant is not liable

      _____ Plaintiffs contributory negligence is 50% or more




SO SAY WE ALL, signed and dated at the United States Courthouse, Atlanta,

Georgia, this "L,1,. of June,   2022.




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                                             Foreperson's Printed Name




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